Case 2:12-cv-14458-JEM Document 37-7 Entered on FLSD Docket 06/13/2013 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 2:12-cv-14458-JEM

   GINA BATTLE, an individual, on
   behalf of herself and all others similarly situated,

          Plaintiff,

   v.

   GLADSTONE LAW GROUP, P.A.,
   a Florida Professional Corporation, and
   ROGER N. GLADSTONE, individually,

         Defendants.
   ______________________________________/

                              DECLARATION OF SCOTT D. OWENS

          I, Scott D. Owens, declare under penalty of perjury, as provided for by the laws of the

   United States, 28 U.S.C. § 1746, that the following statements are true:

          1.      I am a sole practitioner and operate under the name Scott D. Owens, P.A.; I am

   the co-lead attorney representing Plaintiff Gina Battle in this matter; I have conferred with my

   client throughout the instant litigation and my client seeks for my appointment as class counsel

   for the reasons stated herein.

          2.      I am a member in good standing of the bars of the following courts:

                          State of Florida
                          Tallahassee, Florida
                          October 2, 2002

                          United States District Court for the Southern District of Florida
                          Miami, Florida
                          October 10, 2008

                          United States District Court for the Middle District of Florida
                          Tampa, Florida
Case 2:12-cv-14458-JEM Document 37-7 Entered on FLSD Docket 06/13/2013 Page 2 of 5



                         June 23, 2009

                         Eleventh Circuit Court of Appeals
                         Atlanta, Georgia
                         April 30, 2012

          3.      I am a 2000 graduate of the New England School of Law. After a short time

   working in a debt collection law firm, I began to represent persons in consumer rights litigation,

   both in State and Federal Court; currently, nearly 100% percent of my workload consists of

   consumer protection litigation.

          4.      My federal litigation practice was featured in the Daily Business Review on June

   15, 2009 in an article entitled “Federal Law Used Against Abusive Debt Collectors.”

          5.      At the specific request of Judge Myriam Lehr of Miami-Dade County, I was

   asked to conduct a Continue Legal Education (CLE) seminar on the basics of FDCPA litigation

   entitled “How to Defend Against Abusive Debt Collectors”; the event was sponsored by the

   Miami-Dade Consumer Advocate and held on October 30, 2009.

          6.      I was featured on WSVN News (Channel 7) on November 22, 2010 for my pro-

   consumer work in the area of the Fair Debt Collection Practices Act.

          7.      I was a Guest Lecturer at the National Consumer Law Center’s “Fair Debt

   Collection Training Conference” held in Jacksonville, Florida on March 5-6, 2010.

          8.      I was Featured Guest Speaker at the request of the Miami-Dade Consumer

   Services Department during National Consumer Protection Week on March 11, 2011.

          9.      I instructed a CLE seminar for Legal Services of Greater Miami, Inc., dealing

   with consumer protection (May 2011).

          10.     I conducted a CLE on the topic of consumer protection at Florida International

   University (June 2012).
Case 2:12-cv-14458-JEM Document 37-7 Entered on FLSD Docket 06/13/2013 Page 3 of 5



          11.     Since 2007, I have been an active member of the National Association of

   Consumer Advocates (NACA) and I regularly attend legal seminars hosted by the National

   Consumer Law Center (NCLC), including the following:

                  National Consumer Law Center, 17th Annual Consumer Rights Litigation
                  Conference (2008)

                  National Consumer Law Center, Fair Debt Collection Training Conference
                  (2009)

                  National Association of Consumer Advocates, Fair Credit Reporting Act
                  Conference (2009)

                  National Consumer Law Center, 18th Annual Consumer Rights Litigation
                  Conference (2009)

                  National Consumer Law Center, Fair Debt Collection Training Conference
                  (2010)

                  National Consumer Law Center, 19th Annual Consumer Rights Litigation
                  Conference (2010)

                  National Consumer Law Center, 20th Annual Consumer Rights Litigation
                  Conference (2011)

                  National Consumer Law Center, 21st Annual Consumer Rights Litigation
                  Conference (2012)



          12.     Of the aforesaid legal seminars, I have attended at least three intensives which

   have dealt exclusively with class action litigation; I am familiar with the ethical and professional

   guidelines governing class action litigation.

          13.     I am generally regarded by my peers as one of the leading authorities in the State

   of Florida in with respect to the Fair Debt Collection Practices Act.
Case 2:12-cv-14458-JEM Document 37-7 Entered on FLSD Docket 06/13/2013 Page 4 of 5



           14.    My law practice was featured on the cover of the Sun-Sentinel on September 11,

   2011 in an article entitled Ticked off at debt collectors calling their cellphones, Floridians are

   fighting back. The article specifically dealt with the Telephone Consumer Protection Act.

           15.    Amongst my many published decisions concerning the FDCPA are the following

   citations:

           Chalik v. Westport Recovery Corp., 677 F. Supp. 2d 1322 (S.D. Fla. 2009)

           Sanz v. Fernandez, 633 F. Supp. 2d 1356 (S.D. Fla. 2009)

           Pincus v. Law Offices of Erskine & Fleisher, 617 F. Supp. 2d 1265 (S.D. Fla. 2009)

           Orr v. Westport Recovery Corp., --- F.Supp.2d ----, 2013 WL 1729578 (N.D. Ga. 2013)

           Deuel v. Santander Consumer USA, Inc., 700 F.Supp.2d 1306 (S.D. Fla. 2010)

           16.    I was appointed as class counsel in the matter of McMullen v. Jennings &

   Valancy, P.A., Case No. 10-CV-60050. In certifying me for class counsel, Judge Adalberto

   Jordan stated, “I find that Mr. Owens can fairly and adequately represent the interests of the

   class…” and “Mr. Owens has the requisite mastery in these type of claims.” I also served as

   class counsel in the case of Lithgow v. Eisinger, Brown, Lewis, Frankel, Chaiet & Krut, P.A.

   Case No. 0-10-cv-61185-WJZ [See Order dated Dec. 9, 2010]. In March 2012, I was appointed

   class counsel in Lee v. Greenspoon Marder, Case No. 10-cv-61184-Lenard/O’Sullivan. I am also

   class counsel in the recently certified case, Collins v. Erin Capital Management, LLC, No.

   1:12−cv−22839−CMA and in Bummolo v. The Law Offices of Charles W. McKinnon, P.L., No.

   2:11-cv-14408-KMM. I was appointed local liaison counsel in the multidistrict litigation known

   as In Re Enhanced Recovery Company, LLC Telephone Consumer Protection Act Litigation,

   No. 6:13−md−02398−RBD−GJK.
Case 2:12-cv-14458-JEM Document 37-7 Entered on FLSD Docket 06/13/2013 Page 5 of 5



           18.     With respect to the matter at bar, I have investigated all potential claims in this

   matter; my investigation including numerous consultations with my client. The undersigned

   attorney has easily spent more than fifty hours litigating and investigating this matter.

           19.     My law firm will commit all resources, financial, professional and otherwise in

   order to oversee the adequate administration of the instant class action litigation as well as to

   protect the best interests of the class.

                   Executed at Hallandale, Florida, on June 13th, 2013.


                                                          s/ Scott D. Owens
                                                             Scott D. Owens


                                                         Respectfully submitted,

                                                         /s/Scott D. Owens
                                                         SCOTT D. OWENS, ESQ.
                                                         Florida Bar No.: 0597651
                                                         664 E. Hallandale Beach Blvd.
                                                         Hallandale, FL 33009
                                                         Telephone: 954-589-0588
                                                         Facsimile: 954-337-0666
                                                         scott@scottdowens.com
